           RECEIVED
           JUL 6 2020
                                                           ^ f L E. D
       BROOKLYN PRO SE        Bcx^aU-U)5{5hiQ-CT32>jyiSipjs^^
           OFFICE
                                                     ^ JUL0S 202Q         yi,
                              P.O ^B>ax:^3(xO^        BEJQOKLyN-GFPffiE


 t |A.vi4fv4 ^-Va4P-S &tS,-W-\r4 ^ nijr'V        ^
JRXLi^c„£fl5i:£i=fcJ.-bi6Wjc^^^
^fslEwYo^fe- ^ Z2.'5 caJ_MiSAJ - Pie2.ft_E/3S^^
BiXa)^y&LAi£c^.'76g-l^--^^^

tEOrniibOQlA _Q2£^LN)(SroN^ _ _ d/^5£-A)D:_-Q5r_5£&
P£:jft U-S- C.-i SS*ft2._                    J

      L. -djTQ JBxmj^lly.
 to 5c' 1M.wXeicj'I A-4pjy              4t) no/nc- £jO<^
     ^Thc P^)si SCbP AcT ^xp/9AjJc<J ScM^EMc^ihJG
  E%iej^o^d{t<if^(Zjf iq/vA Gr,^pt.ll/MQ R£/i£o/Us" orhlc'^
 /'? O.S.C. - ^ 5Sfa CcXr\(A?fi). Th£ £00(b-iq
           V c )K)Qi )esh ofvflJbly {^QtJS-fi jyjcS'£x -ff P'
oi^AiN^fKry Ary^ ^■Q(^Vp5/^^M(^
       T^dr 6gAj/fciCS pog, biSfcPiSfc Con-t-rol >^Ajd
 P'i2^.l/en)-V'>o(^ Was \A<::^^A^\V\EA T^{^S£>kIS f)L>cr Ahfi
              As \Jg// As pfe-feQ)\j^
 pfeSSu^Sg" I4p-p~ C                                 ^'CdKI igAAS
                                               pACjE" 2-      2.


AMA ^^nMproMlSpJ iMMuoe Sys4fcKAS fiS T-PiCJj^
££5c.ij^<laAQ.£iE^Jim

      M/ i\Jicdli <^/^l /J/Sivry /9S EccazAt:J /^/ (/S.P
                       n\r fhif ^/n7n07)T^/^~J-bt bjJiich.
t)Ci c-tocs            iZ-pFPi-hd rt\h Sa ifs Fy Hiii S
sS/^^MFaJ-/-OF''0^An/?cl;A;4rc/ f\nA CompiFl^iNq
Rmsyus'U)nri.f^i^ /fT lAS-C. J 3^^^3-(c\ri )M)fn
        /l/'^ far f^/^. r^Dtjr/- 4?)                                  fd
M(\rl/^(/ dr rtAocpA^                             X I4if)-u(i, io_
p' tdfAurh       Rs^d'Frli^s (WjmlftUi /AJ                 KO.P
j-loh fbrB(^tunc T^h^is. T                          j'hp. {aJapAeM
7*0 clE-/'f.p M/ki^ t F ll. /Q-/M vJiqilolB for (\ ^.Aj-heOJCB-
ffr c!ucii\)K\          -/p i^e f^mortc^ Sjds^ (k)I-I'o              I/HsA
Qf
(jr   /fvt           lio/yit^. Q)A]7^/AJeM-EA}-}' hot:^ it)
G-)Ui b-lA




                 Sq^\Aa^sWi
                 vj£>.(^ fJV^CfEA
                 9'Q BO)^ 3oQ'
                 ^ik\k ^ndr.K)y ^Zb3K
 {Li i-hth                   h r'shjjii CovBJl
       Th-p.              hhii^cT or /\leiO Voi^^

                                   Cf^^tr: Aio: r/^ OS-55_S.
BooalA-i^QSh \ cn-kiQ—
          rPeA'A(nNJi&Rj
        XZ5u.

cJKiiVcA $a\i^VcS Op A(^ci(2-icA

        Mf)47nn t-or AppCM ^^V1|VV^;<M•V oV CoanShl
      p£4t|'/OAk:i^            T'/i)s fiANor^h/t: CooR-'i'—
            f^pj^om-hmcrJi- C)4-.^Cj2unS'f.l Td j-^^chi 1)61^-
/             Thr. Mn-f/'ars n-p IZeJe/^St -/o /^0/ri<^
 Cjo>KjF//UtrM^.A/"/'            7^0    (4.S>C- ^
feifiHA) ci)

          x gfv->QiA (,.0osLAjit|4cf/L\       /Oo4- AM Ail^(g-nec
     LSa/^Z/y Snphisj-fc^iyd -h u hi               [qifk 00^ the
hsshhhjc£ csP Cj^uasr:!.T'oa aJoZ                      ARCS' -fo
fffiu£ PsN F\rtk>Rf\Jty fltOd                   o/ (Jurist I focx.i
 OJil! Ff\JfiB>l£ fliE R-f^ofiyic.y ~to /-y/ly Gflfisp ~flnC
SiAic(^R,]-fy /9-/)J                tl4y Qr Phfi-hioi\Jt^
                                             pfiqc Z.of "2.

                                (boL/U^
      s   ±Jni^_ Jc^noffjipl?         (^i ll i^PfOip'^ Cayice ).

 PorsuftM-V       -Z8^          ^ \l^(o X becUjas
                                  P            VW'^ Tb^g
(^,ij.a A/ud PAr fflcts                   /(\1 /"f f)-/2E LfUE^



                         Po'iala
/




    /\




         ^41 -
          4<--
          y^-




         jy
pTY-in^ \X               I                                fi<r<4X-3f>a^ILLE TN 377 ..
                                                                                         OiVibmlir' gibj
N3ni6
Reg NnCjt9ofS'b'-QSBit                                  3:> JLIW a020 PM 1 L
                                                                                              _
                                                                                        ••' ^ ofEai ii
                                                                                              t o">


                                                                                                      f!;,
United States Penitentiary McCreary
P.O. Box 3000
Pine Knot, KY 42635
                               C.(Lti7Y^ o-f U'S b\s ^
                                                cr^ hJEixj Yoi^ K:-
                         Z25 c^/r7/9M                    f-qs-/"
                        Bt^oojclyf^                     l\2oi
                                      1j20i — i BBSSS
